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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

  ELIZABETH SINES, ET AL.,                    │ Case No. 3:17-cv-00072-NKM
                                              │
                Plaintiffs,                   │ Hon. Norman K. Moon
                                              │
         v.                                   │
                                              │
  JASON KESSLER, ET AL.,                      │
                                              │
                Defendants.                   │
                                              │

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  MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT BY MICHAEL HILL,
              MICHAEL TUBBS, AND LEAGUE OF THE SOUTH
                     (ORAL ARGUMENT REQUESTED)
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         NOW COMES Michael Hill (“Hill”), Michael Tubbs (“Tubbs”), and League of the South

  (“LOTS”), by and through their undersigned attorney, and hereby move this Honorable Court to

  dismiss Plaintiff’s Amended Complaint—pursuant to Fed. R. Civ. P. 12(b)(6)—for the reasons set

  forth in their previously filed Motion to Dismiss and Brief in Support of Motion to Dismiss of

  Michael Hill, Michael Tubbs, and League of the South. The previous Motion to Dismiss and Brief

  in Support of Motion to Dismiss were filed with this court on November 10, 2017.

                                                 Respectfully submitted,


                                                 /s/ Bryan J. Jones
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                                                 and League of the South

  Dated: January 25, 2018
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                                   VII. PROOF OF SERVICE

         I, Bryan J. Jones, affirm that I am an attorney of record for a party to the above-captioned

  civil action, and on January 25, 2018, I served a true and accurate copy of this document upon all

  attorneys of record who have registered to receive service of process via the Court’s Electronic

  Filing System by submitting said documents to said System.


                                                   /s/ Bryan J. Jones
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  Dated: January 25, 2018
